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                            IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                               MEMORANDUM DECISION AND
                                                        ORDER DENYING WITHOUT
                           Plaintiff,                   PREJUDICE DEFENDANT’S MOTION
                                                        TO APPOINT COUNSEL
v.

ADALBERTO REYES-RIVERA,

                           Defendant.                   Case No. 2:15-CR-182 TS

                                                        District Judge Ted Stewart

          This matter is before the Court on Defendant’s Motion to Appoint Counsel. Defendant

seeks the appointment of counsel to assist in the preparation of a yet-to-be filed motion under 28

U.S.C. § 2255.

          “[T]here is no right to counsel in collateral proceedings.” 1 Only when an evidentiary

hearing is required is a defendant entitled to counsel. 2 The decision to appoint counsel is left to

the sound discretion of the Court. 3 “In determining whether to appoint counsel, the district court

should consider a variety of factors, including the merits of the litigant’s claims, the nature of the

factual issues raised in the claims, the litigant’s ability to present his claims, and the complexity




          1
         United States v. Prows, 448 F.3d 1223, 1229 (10th Cir. 2006); see also Pennsylvania v.
Finley, 481 U.S. 551, 555 (1990) (stating that “the right to appointed counsel extends to the first
appeal of right, and no further”).
          2
              Rule 8(c) of the Rules Governing § 2255 Proceedings for the United States District
Courts.
          3
              Engberg v. Wyoming, 265 F.3d 1109, 1122 (10th Cir. 2001).


                                                    1
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of the legal issues raised by the claims.” 4 Considering these factors, the Court declines to

appoint counsel at this time.

       It is therefore

       ORDERED that Defendant’s Motion to Appoint Counsel (Docket No. 54) is DENIED

WITHOUT PREJUDICE.

       DATED this 22nd day of February, 2016.

                                              BY THE COURT:



                                              Ted Stewart
                                              United States District Judge




       4
           Williams v. Meese, 926 F.2d 994, 996 (10th Cir. 1991).


                                                 2
